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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


                         GOVERNMENT’S SECOND NOTICE
                    REGARDING REPORT OF THE SPECIAL COUNSEL

       The United States of America submits this second notice to the Court regarding the Special

Counsel’s confidential report to the Attorney General (Report).

       On April 17, 2019, the government advised the Court that the Justice Department

(Department) was preparing for release a redacted version of the Report. The government further

advised that, after the public release of the redacted version of the Report, the Department planned

to make available for review by a limited number of Members of Congress and their staff a copy

of the Special Counsel’s Report without certain redactions. The Department did so, making

available a minimally redacted version of the Report to a limited number of congressional leaders

under conditions that would protect against further dissemination of the minimally redacted

Report. The minimally redacted Report maintained redactions only for grand jury material, which

is protected from disclosure by Federal Rule of Criminal Procedure 6(e).

       On May 8, 2019, the House Permanent Select Committee on Intelligence (“HPSCI”) issued

a subpoena to the Department for, among other things, the unredacted Report. The Department

recognizes and respects the legitimate oversight interests of the Committee in the federal

government’s counterintelligence and foreign-intelligence matters, and the Department has

advised HPSCI that the Department is prepared to work in good faith to accommodate legitimate
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requests of the Committee for information to the extent possible in a manner consistent with

Executive Branch confidentiality interests.

       Consistent with that commitment, the Justice Department has reached an agreement with

HPSCI regarding review of Volume I of the minimally redacted Report. The Department will

make available for review Volume I of the minimally redacted Report in a secure space by HPSCI

Members and a limited number of Committee staff members from each of the majority and

minority. This copy of Volume I of the Report will include in unredacted form information related

to this case. Members and staff authorized to review the report will be permitted to take notes,

provided those notes are properly secured, and they will be permitted to discuss the report among

themselves.   The Department has advised the Committee that the Department expects the

Committee and staff to strictly maintain the confidentiality of any information contained in the

report and to use that information only for Committee purposes. The Department has also advised

the Committee that none of the material that was redacted in the public version of Volume I—

including information related to this case—may be revealed publicly or to others not authorized

by the Department to receive such access, without prior consent of the Department.              The

government plans to make the minimally redacted report available under the same conditions to

the members and limited staff of the Senate Select Committee on Intelligence (SSCI).

       The government believes that this arrangement does not violate either Local Criminal Rule

57.7 or the Court’s order regarding extrajudicial statements of counsel. By providing minimally

redacted copies of Volume I of the report for review by HPSCI and SSCI Members and limited

staff in a secure space, and by further restricting dissemination of the material, the Department is

not making a statement about this case “in public settings.” Doc. 36, at 3. Nor is the Department

“authoriz[ing] the release of information or opinion which a reasonable person would expect to be



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disseminated by means of public communication.” Local Crim. R. 57.7(b)(1). Nevertheless, in

an abundance of caution and in the interests of transparency to the Court, the government is

advising the Court of its intended course of action. Absent further guidance from the Court, the

Department plans to make this version of the report available for review beginning on May 28,

2019.


                                    Respectfully submitted,

                                    JESSIE K. LIU
                                    U.S. Attorney for the District of Columbia

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Dated: May 22, 2019




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